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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MISSOURI
                           EASTERN DIVISION

UNITED STATES OF AMERICA,              )
                                       )
            Plaintiff,                 )
                                       )
      v.                               )        Case No. 4:18 CR 975 CDP
                                       )
DUSTIN BOONE,                          )
CHRISTOPHER MYERS, and                 )
STEVEN KORTE,                          )
                                       )
            Defendants.                )

                                    ORDER

      IT IS HEREBY ORDERED that all counsel may review the juror

prescreening questionnaires in this case beginning today, March 2, 2021,

starting at 1:15 p.m. in the Jury Assembly Room on the 1st floor of the Thomas

F. Eagleton United States Courthouse. The juror questionnaires may be obtained

from the Jury Unit personnel. Review of the questionnaires must be completed by

Thursday, March 4, 2021 at 4:00 p.m.

      IT IS FURTHER ORDERED that all juror prescreening

questionnaires must remain in the Jury Assembly Room and may not be

photocopied. Counsel shall return all of the juror prescreening questionnaires to

Jury Unit personnel upon completion of their review.

      IT IS HEREBY ORDERED that counsel for all parties, following review
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of the juror prescreening questionnaires in this matter, shall each file a Request

that (1) lists the potential jurors they request to have excused at this point, and (2)

states the reason as to why each listed potential juror should be excused. The

Request must be filed no later than Friday, March 5, 2021.

        IT IS FURTHER ORDERED that any response to the other side’s

Request to excuse potential jurors must be filed no later than Monday, March 8,

2021.



                                         ______________________________
                                         CATHERINE D. PERRY
                                         UNITED STATES DISTRICT JUDGE

Dated this 2nd day of March, 2021.




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